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12-05-00360-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS DISTRICT

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TYLER, TEXAS

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&nbsp;

JORGE GARCIA,&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 241ST

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

&nbsp;

THE STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

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MEMORANDUM OPINION

PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jorge Garcia
appeals his conviction for engaging in organized criminal activity while
committing aggravated assault, for which he was sentenced to imprisonment for
fifteen years.&nbsp; Appellant’s counsel filed
a brief in compliance with Anders v. California, 386 U.S. 738, 87
S. Ct. 1396, 18 L. Ed. 2d 493 (1967), and Gainous v. State, 436
S.W.2d 137 (Tex. Crim. App. 1969).&nbsp; We
affirm.

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
was charged by indictment with engaging in organized criminal activity while
committing aggravated assault, to which Appellant pleaded “guilty.”&nbsp; The matter proceeded to a trial on
punishment.&nbsp; Ultimately, the trial court
sentenced Appellant to imprisonment for fifteen years.&nbsp; This appeal followed.

Analysis
Pursuant to Anders v. California








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s
counsel filed a brief in compliance with Anders v. California,
386 U.S. 738, 87 S. Ct. 1396,18 L. Ed. 2d 493 (1967), and Gainous v.
State, 436 S.W.2d 137 (Tex. Crim. App. 1969). Appellant’s counsel
states that he has diligently reviewed the appellate record and is of the
opinion that the record reflects no reversible error and that there is no error
upon which an appeal can be predicated.&nbsp;
He further relates that he is well acquainted with the facts in this
case.&nbsp; In compliance with Anders,
Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978), Appellant’s brief presents a chronological summation of the
procedural history of the case and further states that Appellant’s counsel is
unable to raise any arguable issues for appeal.1&nbsp; We have likewise reviewed the record for
reversible error and have found none.

&nbsp;

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As
required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App.
1991), Appellant’s counsel has moved for leave to withdraw.&nbsp; We carried the motion with our consideration
of the merits of this matter.&nbsp; Having
done so and finding no reversible error, Appellant’s counsel’s motion for leave
to withdraw is hereby granted and the trial court’s
judgment is affirmed.

Opinion
delivered August 31, 2006.

Panel consisted of Worthen,
C.J., Griffith, J. and Hoyle, J.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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(DO NOT PUBLISH)











1 Counsel for Appellant certified in his motion
to withdraw that he provided Appellant with a copy of this brief.&nbsp; Appellant was given time to file his own
brief in this cause.&nbsp; The time for filing
such a brief has expired and we have received no pro se brief.







